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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

                                      )
 ALLISON HAMES,                       )
                                      )
       Plaintiff,                     )
                                      )
 v.                                   )    No. 2:18-cv-02121-SHM-cgc
                                      )
 SUNTRUST BANK;                       )
 CITIBANK, N.A.;                      )
 and JEFFREY CRANFORD,                )
                                      )
       Defendants.                    )
                                      )
                                      )

                                  ORDER



      Before the Court is Plaintiff Allison Hames’s November 12,

2019 Motion to Lift Stay.        (ECF No. 43.)       Defendants SunTrust

Bank (“SunTrust”) and Citibank, N.A. (“Citibank”) responded on

November 26, 2019.      (ECF Nos. 45-46.)

      Also before the Court is Hames’s November 12, 2019 Third

Motion for Default Judgment as to Defendant Jeffrey Cranford.

(ECF No. 44.)

      For the following reasons, the Motion to Lift Stay is

DENIED.    The Third Motion for Default Judgment is DENIED.

I.    Background

      This case arises from alleged electronic fraud.                     Hames

alleges that, in May 2017, Cranford posed as a representative of
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the closing company for Hames’s purchase of a home in Shelby

County, Tennessee, and defrauded Hames of approximately $76,000

via wire transfer.      (ECF No. 20 ¶¶ 6, 9-11.)          Hames alleges that

the money was wired from her SunTrust money market account into

Cranford’s Citibank account.           (Id. ¶¶ 7, 10, 13, 15.)               Hames

alleges that she asked SunTrust to cancel the wire transfer, but

that SunTrust allowed the transaction to proceed.                 (Id. ¶¶ 12-

14.)    She alleges that the money was “improperly deposited into

an account owned and/or used by Jeffrey Cranford at Citibank.”

(Id. ¶ 15.)

       On   January   11,    2018,   Hames    filed   a   Complaint      against

SunTrust, Citibank, and a fictitious party named John Doe in the

Circuit Court of Shelby County, Tennessee for the Thirtieth

Judicial District at Memphis. (ECF No. 8-1 at 4-11.) On February

22, 2018, SunTrust removed to this Court.              (ECF No. 1.)      On May

21, 2018, Hames filed an Amended Complaint identifying Cranford

as the fictitious party. (ECF No. 20.) In the Amended Complaint,

Hames asserts four claims: (1) a “breach of contract and breach

of fiduciary duty” claim against SunTrust; (2) a conversion claim

against Cranford; (3) a fraud claim against Cranford; and (4) a

claim   for   “other    reckless     and/or    negligent       actions   and/or

omissions” against SunTrust and Citibank.              (Id. ¶¶ 18-38.)

       On June 11, 2018, Hames, SunTrust, and Citibank filed a

joint motion to stay proceedings for 120 days because of a

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related criminal case in this District in which Cranford has

been indicted on charges of conspiracy to commit fraud; wire

fraud; and money laundering.            (ECF No. 26); see generally United

States     of   America    v.    Cranford,      No.       2:18-cr-20103-JTF        (W.D.

Tenn.).1    In their joint motion to stay proceedings, the parties

represented      that,    “[b]ased      on    the     information      contained     in

Defendant       Cranford’s      indictment,         the    Parties     believe     that

Defendant Cranford’s criminal matter may affect the proceedings

in the instant matter,” and that “the Parties believe that more

information regarding Defendant Cranford’s criminal matter may

narrow the focus of the instant litigation and avoid unnecessary

costs of litigation.”           (ECF No. 26 ¶¶ 6-7.)            On June 11, 2018,

the Court granted the parties’ joint motion, stayed the case,

and ordered that SunTrust and Citibank “shall file a responsive

pleading . . . within twenty-one (21) days from the date of entry

of an Order lifting the stay.”               (ECF No. 27.)       The Court has not

entered an order lifting the stay.

      While the case has been stayed, Hames has twice moved

unsuccessfully for default judgment against Cranford, who has

not   appeared     in    the    case.        (See    First    Motion    for   Default


1
  Citations to (Cr. ECF No. ##) refer to Cranford’s related criminal
case. On April 19, 2018, Cranford was charged in the related
criminal case with conspiracy to commit fraud and money laundering.
(See Cr. ECF No. 1.) On July 23, 2019, a superseding indictment
issued charging Cranford with conspiracy to commit fraud; wire
fraud; and money laundering. (See Cr. ECF No. 41.)

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Judgment, ECF No. 36; Second Motion for Default Judgment, ECF

No. 38.)     On October 4, 2018, the Court denied Hames’s First

Motion for Default Judgment because it lacked proof of damages.

(See ECF No. 37.)     On September 6, 2019, the Court denied Hames’s

Second Motion for Default Judgment because of procedural defects

in the motion and because the case was stayed.                  (See ECF No.

42.)

       On November 12, 2019, Hames filed the Motion to Lift Stay

and the Third Motion for Default Judgment.             (ECF Nos. 43-44.)

II.    Standard of Review

       “The decision whether to grant a stay of a particular action

is within the inherent power of the Court and is discretionary.”

Ellis v. Merck & Co., No. 06-cv-1005, 2006 WL 448694, at *1 (W.D.

Tenn. Feb. 19, 2006) (citing Landis v. N. Am. Co., 299 U.S. 248,

254-55 (1936)).      “While nothing in the Constitution requires a

civil action to be stayed in the face of a pending or impending

criminal indictment, a court still has broad discretion in

determining whether to stay a civil action while a criminal

action is pending or impending.”           Chao v. Fleming, 498 F. Supp.

2d 1034, 1037 (W.D. Mich. 2007).

       Courts in this Circuit consider the following factors when

determining whether to grant or continue a stay of a civil

action:




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      (1) the extent to which the issues in the criminal
      case overlap with those presented in the civil case;

      (2) the status of the case, including whether the
      defendants have been indicted;

      (3) the private interests of the plaintiffs in
      proceeding expeditiously weighed against the prejudice
      to plaintiffs caused by the delay;

      (4) the private         interests     of   and   burden   on   the
      defendants;

      (5) the interests of the courts; and

      (6) the public interest.

FTC v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir.

2014); see also Eastwood v. United States, No. 2:06-cv-164, 2008

WL 5412857, at *2-7 (E.D. Tenn. Nov. 14, 2008) (considering these

factors in determining whether to grant a motion to lift stay).

“In addition to those factors, district courts should consider

the extent to which the defendant’s fifth amendment rights are

implicated.” E.M.A. Nationwide, 767 F.3d at 627 (quotation marks

and citations omitted).         “[T]he burden is on the party seeking

the stay to show that there is pressing need for delay, and that

neither the other party nor the public will suffer harm from

entry of the order.”         Id. at 627-28 (citing Ohio Envtl. Council

v. U.S. Dist. Court, S. Dist. of Ohio, E. Div., 565 F.2d 393,

396 (6th Cir. 1977)).




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III. Analysis

      A.    Motion to Lift Stay

      Hames moves to lift the stay.         (ECF No. 43.)     In her Motion

to Lift Stay, Hames asserts that, “[o]n June 11, 2018, this Court

granted [the parties’] Joint Motion to stay these proceedings

120 days,” and that “the 120 days has now passed and the Plaintiff

wishes to proceed forward in this matter and also proceed forward

with her Motion for Default Judgment against Defendant Cranford.”

(Id. at 1.)

      SunTrust and Citibank oppose the Motion to Lift Stay.                (ECF

Nos. 45-46.)      In their responses to the Motion to Lift Stay,

SunTrust and Citibank note that Cranford’s related criminal case

remains pending.      (See ECF No. 45 at 4; ECF No. 46 at 3-4.)

SunTrust and Citibank have met their burden to show that the

stay should be continued at this time.              The relevant factors

support continuing the stay during the pendency of Cranford’s

criminal proceeding.

      First,   the   issues    in   Cranford’s    related    criminal      case

overlap significantly with the issues in this civil action.                 The

fraud charges in the related criminal case arise from the same

facts and events from which Hames’s civil claims arise. (Compare

Superseding Indict., Cr. ECF No. 41 ¶ 38, with Am. Compl., ECF

No. 20 ¶¶ 6-15.)       “‘[T]he strongest case for deferring civil

proceedings until after completion of criminal proceedings is

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where a party under indictment for a serious offense is required

to defend a civil or administrative action involving the same

matter.’”      Chao, 498 F. Supp. 2d at 1037 (quoting SEC v. Dresser

Indus., Inc., 628 F.2d 1368, 1375-76 (D.C. Cir. 1980)).

      Second, the proceedings in the related criminal case are at

an advanced stage.      Cranford was indicted on April 19, 2018, and

a superseding indictment issued on July 23, 2019.              (Cr. ECF Nos.

1, 41.)      On February 21, 2020, the Court in the related criminal

case noted that “[d]iscovery is complete” and the “[p]arties

request additional time to prepare[.]”           (Cr. ECF No. 104.)

      Third, Hames identifies no particular prejudice that will

result from further delay pending the resolution of the related

criminal case, which is proceeding apace and may be resolved in

the coming months.

      Fourth, the private interests of SunTrust and Citibank weigh

in favor of continuing the stay.           As SunTrust notes, SunTrust

and Citibank may be able to lessen some of the costs of defending

in this civil action, depending on the outcome of the related

criminal case.      (See ECF No. 46 at 4.)

      Fifth, judicial economy is served by continuing the stay

until the related criminal case is resolved.                 As courts have

noted   in    similar   cases,   “[t]he    resolution    of    the   criminal

proceedings may serve to expedite the civil proceedings, avoiding

the needless expense of judicial time and resources.”                  Auramet

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Int’l, LLC v. Metals, No. 16-cv-11177, 2016 WL 4087234, at *4

(E.D. Mich. Aug. 2, 2016) (collecting cases) (quotation marks

and citations omitted).

      Sixth, the public interest does not favor either party.

      Seventh, Cranford’s Fifth Amendment rights are implicated

in this case.     A criminal defendant’s Fifth Amendment privilege

against    self-incrimination      remains    in   effect     until       after

conviction and sentencing.        See Mitchell v. United States, 526

U.S. 314, 326 (1999).        Cranford has not appeared in this case,

but if he were to appear before the related criminal case is

resolved, any assertion by Cranford of his Fifth Amendment rights

would complicate the civil proceedings.         See, e.g., Fed. Express

Corp. v. Caruso, No. 2:14-cv-02337, 2015 WL 12867319, at *2 (W.D.

Tenn. May 18, 2015).

      SunTrust and Citibank have met their burden to show that

the stay should be continued pending the outcome of Cranford’s

related criminal case.       The Motion to Lift Stay is DENIED.

      B.    Third Motion for Default Judgment

      As the Court stated in its Order denying Hames’s Second

Motion for Default Judgment, “[a]s long as proceedings are

stayed, the Court will not enter a default judgment.”              (ECF No.

42 at 7.)      The case remains stayed at this time.              The Third

Motion for Default Judgment is DENIED.




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IV.   Conclusion

      For the foregoing reasons, the Motion to Lift Stay is

DENIED.    The Third Motion for Default Judgment is DENIED.



So ordered this 7th day of April, 2020.



                                    /s/ Samuel H. Mays, Jr.
                                  Samuel H. Mays, Jr.
                                  UNITED STATES DISTRICT JUDGE




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